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  1   STEPHEN YAGMAN
      333 Washington Boulevard
  2   Venice Beach, California 90292-5152
      (310) 452-3200
  3
      Presented on behalf of Plaintiff,
  4   Stephen Yagman, in propria persona,
  5
      in only his individual-capacity

  6   JOSEPH REICHMANN (SBN 29324)
      333 Washington Boulevard
  7   Venice Beach, California 90292-5152
      (310)452-3200
  8
      Presented on behalf of Plaintiff,
  9   Stephen Yagman, only in his
      class- representative capacity, if
 10   and when a class is certified
 11                        UNITED STATES DISTRICT COURT
 12                       CENTRAL DISTRICT OF CALIFORNIA
 13                                    WESTERN DIVISION
      STEPHEN YAGMAN,
 14
 15
                          Plaintiff,
                                                              COMPLAINT
                         vs.                                  (Class Action)
 16
 17   JESSE K. BRAY, aka JAY BRAY,
      CHRISTOPHER MARSHALL,                                  JURY DEMAND
 18   NATIONSTAR MORTGAGE
      HOLDINGS, INC.,
 19   NATIONSTAR MORTGAGE LLC.,
      MR. COOPER GROUP, INC.,
 20   NATIONSTAR CAPITAL
      CORPORATION, and TEN
 21   UNKNOWN NAMED
      DEFENDANTS 1-10,
 22
                         Defendants.
 23
 24                             JURISDICTION AND VENUE
 25         1. Plaintiff asserts diversity of citizenship claims against all defendants, as
 26   all defendants and plaintiff, respectively, are domiciliaries and citizens of different
 27   states, plaintiff of New York, and defendants not of New York, and defendants
 28   apparently of Texas and of Delaware, and therefore this court has jurisdiction


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  1   pursuant to 28 U.S.C. § 1332(a)(1), since the matter in controversy exceeds the
  2   sum or value of $75,000, exclusive of interest and costs, plaintiff also asserts his
  3   state law claims based on supplemental jurisdiction, under 28 U.S.C. § 1367, and
  4   jurisdiction also is based on 28 U.S.C. § 1331, as a federal claims are asserted for
  5   Racketeer Influenced and Corrupt Organizations (RICO) violations.
  6         2. Defendants did both general business and case-specific business in
  7   California, and the matters that are the bases for this action occurred in Los
  8   Angeles County, California, and therefore venue lies in the United States District
  9   Court for the Central District of California, and in its Western Division, pursuant to
 10   28 U.S.C. § 1391.
 11                                     THE PARTIES
 12         3. Plaintiff is STEPHEN YAGMAN (hereinafter "Yagman" or "plaintiff"),
 13   and defendants are JESSE K. BRAY, aka JAY BRAY, chairman, president, and
 14   CEO of the following-named defendant entities -- NATIONSTAR MORTGAGE
 15   HOLDINGS, INC., NATIONSTAR MORTGAGE LLC, MR. COOPER
 16   GROUP, INC., NATIONSTAR CAPITAL CORPORATION,
 17
      CHRISTOPHER MARSHALL, CFO of the following-named entities --
 18
      NATIONSTAR MORTGAGE HOLDINGS, INC., NATIONSTAR
 19
      MORTGAGE LLC, MR. COOPER GROUP, INC., NATIONSTAR
 20
      CAPITAL CORPORATION, and TEN UNKNOWN NAMED DEFENDANTS
 21
      1-10 (hereinafter, and all collectively, "defendants"), who are persons and/or
 22
      entities whose true names presently are unknown and who may have engaged in
 23
      some conduct that is culpable with respect to plaintiff, as set forth hereinbelow,
 24
      and whose true names will be added when they are known. All counts are asserted
 25
      against all defendants, who all engaged on the same wrongful conduct.
 26
      //
 27
      //
 28


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  1            ALLEGATIONS COMMON TO EACH AND ALL COUNTS
  2         4. Each and every allegation set forth in each and every averment of this
  3   pleading hereby is incorporated by this reference in each and every other averment
  4   and allegation of this pleading. All defendants engaged in precisely the same
  5   conduct as to each claim and each count.
  6         5. Plaintiff executed a deed of trust and Note on July 25, 1994 with respect
  7   to which plaintiff is the trustor (mortgagor), Countrywide Title Corporation is the
  8   trustee, and America's Wholesale Lender is the beneficiary. Neither Countrywide
  9   nor America's Wholesale Lender had the legal ability to do business in California
 10   as of July 25, 1994, but plaintiff was unaware of that at that time. As a result of
 11
      this, the deed of trust and Note were and are void ab initio, and this, in part, is the
 12
      basis for all of plaintiff's claims based on fraud.
 13
            6. With respect to that deed of trust, plaintiff granted to the trustee, in trust,
 14
      the following-described property, located in Los Angeles County, California: lot
 15
      19, block 22, of shortline beach subdivision number 2 tract, in the City of Los
 16
      Angeles, County of Los Angeles, State of California, as per map recorded in book
 17
      4 page 42 of maps, in the office of the County Recorder of said County.
 18
            7. The deed of trust and Note required that monthly payments be made on
 19
      the note that is part of the deed of trust, in a sum of approximately over $2,000.00
 20
      per month.
 21
            8. Beginning in approximately 2013, defendants, and each and all of them,
 22
      demanded to plaintiff each and every month that the monthly mortgage payments
 23
 24
      be paid to defendants, having made more than approximately 95, separate written,

 25   and mailed through USPS, demands for such monthly payments, all of which

 26   payments have been made via USPS, which demands eventually ceased.

 27         9. Defendants did not have any legal right to have made these demands for
 28   monthly payments on plaintiff, because defendants were neither the beneficiary of


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  1   the note and the party on whose behalf they made the demands were not the
  2   beneficiary of the deed of trust and did not represent any beneficiary of the deed of
  3   trust.
  4            10. Plaintiff was the borrower as to the July 25, 1994 Adjustable Rate Note
  5   (the Note).
  6
               11. America's Wholesale Lender was the lender, with respect to the Note.
  7
               12. The Note never legally was transferred from America's Wholesale
  8
      Lender to anyone.
  9
               13. At the bottom, right hand side of page 5 of the Note, where it states
 10
      "PAY TO THE ORDER OF ____________," the line is blank, so that the Note
 11
      never was transferred from America's Wholesale lender to anyone, so that only
 12
      America's Wholesale Lender, and no one else, if anyone, had any potential, legal
 13
      right to payments on the Note.
 14
               14. Any purported transfer of the Note that potentially could have been made
 15
      did not occur, because there is no transferor signature, as stated in ¶ 13.
 16
 17
               15. The Deed of Trust that was executed on the same date as the Note never

 18   was transferred.

 19            16. The Deed of Trust could not validly be transferred without the Note

 20   having been validly transferred.
 21            17. Neither the Note nor the Deed of Trust ever was transferred to Girard
 22   Savings Bank, F.S.B., on July 31, 1996.
 23            18. On July 31, 1996, Countrywide Home Loans, Inc. did not validly or
 24   effectively transfer the Note and the Deed of Trust to Girard Savings Bank, F.S.B.
 25            20. On July 31, 1996 Countrywide did not own the Note or the Deed of
 26   Trust.
 27
 28


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  1          21. As of July 31, 1996, when Countrywide Home Loans, Inc. purported to
  2   make the assignment/transfer of the Note to Girard, Countrywide did not own the
  3   Note, and therefore could not have and did not make the transfer.
  4          22. On December 5, 1996, there was a purported assignment/transfer of the
  5   Deed of Trust, but not of the Note, by First Bank of Beverly Hills, FSB, who
  6
      claimed to be the beneficiary of the mortgage, and the purported
  7
      assignment/transfer of the Deed of Trust that stated it "hereby grants, assigns and
  8
      transfers [it] to: [no name listed] as Assignee, with the address of [no address
  9
      listed]" did not accomplish any transfer to anyone.
 10
             23. First Bank of Beverly Hills, FSB, never owned either the Note or the
 11
      Deed of Trust.
 12
             24. First Bank of Beverly Hills, FSB, never legally could transfer the Note or
 13
      Deed of Trust to First Boston or to anyone else, to put into the mortgage
 14
      securitized trust.
 15
             25. Ownership of neither the Note nor the Deed of Trust ever passed to the
 16
      pooling trust, whom defendants contend owned the Note.
 17
             26. Defendant mortgage securitized trust never owned the Note.
 18
             27. Defendant trustee of the trust, Deutsche Bank, from whom defendants
 19
 20
      contended they had the legal right to collect payments on the Note, had no legal

 21   rights as to the Note.

 22          28. In order to set up a securitized trust, there must be a sponsor, a depositor,
 23   and the trust itself.
 24          29. First Bank of Beverly Hills, FSB (FBBH) was in fact the sponsor of the
 25   mortgage-securitized trust.
 26          30. In this case, the mortgage pooling agreement set up a separate
 27   corporation, Wilshire Mortgage Funding Company IV, Inc. (Wilshire IV), to act as
 28   the “unaffiliated seller.”


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  1            31. In this action, according to the Pooling and Servicing Agreement that
  2   established the trust, the "unaffiliated seller" was Wilshire IV, the depositor was
  3   First Boston Mortgage Securities Corp. (First Boston), and the trust was Wilshire
  4   Funding Corporation Mortgage-Backed Trust 1996-3.
  5            32. According to the pooling agreement, Wilshire IV “ha[d] conveyed the
  6   Mortgage Loans to the Depositor, First Boston, pursuant to this Agreement.”
  7            33. The third "Whereas" clause of the pooling agreement indicated that the
  8   pooled mortgage loans were transferred first to First Boston, prior to or at the time
  9   the pooling agreement was entered into, on December 1, 1996.
 10            34. The pooling agreement also indicated that, on December 1, 1996,
 11   Wilshire IV purported to enter into an agreement with Wilshire Credit Corp., First
 12   Bank of Beverly Hills, and Girard Savings Bank, for the purpose of acquiring a
 13   portfolio of mortgage loans, including plaintiff's loan.
 14            35. The Assignment document indicates that First Bank of Beverly Hills did
 15   not make the assignment of the mortgage loans until December 5, 1996, or four
 16   days after entry into the pooling agreement.
 17            36. That notarized Assignment does not show the name and address of any
 18   assignee, so that no transfer/assignment ever could have occurred or ever did
 19   occur.
 20            37. As of December 1, 1996, Wilshire IV had nothing to sell, assign, or
 21   transfer, and could not have sold, transferred, or assigned anything, insofar as
 22   plaintiff's Note or Deed of Trust are concerned.
 23            38. First Bank of Beverly Hills would have had to transfer the notes and
 24   deeds of mortgage to Wilshire IV, the seller, on or before December 1, 1996, or
 25   there was a fraudulent representation in the pooling agreement and an ineffective
 26   transfer, because one cannot effectively transfer that which one neither owns nor
 27   has, and the misrepresentation of ownership was false and/or fraudulent.
 28


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  1           39. As of December 1, 1996, First Boston could not have owned and did not
  2   own the mortgage loans, as is claimed in the pooling agreement, 15-2, p. 23,
  3   because there had been no assignment/transfer of the mortgage loans by First Bank
  4   BH until after December 1, and until December 5, 1996.
  5           40. Plaintiff's loan is indicated on a First Boston ARM Loan Schedule dated
  6   January 27, 1997 as being a part of the trust, Group 2.
  7           41. The ARM Loan Schedule contains at least 360 loans to 360 persons.
  8           42. For plaintiff's loan, a balance, as of December 1, 1996, is indicated.
  9           43. This indicated balance states falsely and fraudulently that plaintiff's loan
 10   was a part of First Boston’s mortgage portfolio, as of December 1, 1996.
 11           44. Plaintiff's loan was not part of First Boston's mortgage portfolio on
 12   December 1, 1996, because First Bank Beverly Hills had not yet assigned the
 13   mortgage portfolio to Wilshire IV.
 14           45. The mortgage trust had 90 days within which to transfer the mortgage
 15   loans into the trust.
 16           46. The transfer could not have occurred within those 90 days, because
 17   plaintiff's loan was not owned by First Boston, the depositor, on December 1,
 18   1996.
 19           47. The trust specifically, and falsely, recites, in its third "Whereas" clause,
 20   that the “Seller [Wilshire IV], pursuant to the Unaffiliated Seller’s Agreement, has
 21   conveyed the Mortgage Loans to the Depositor [First Boston], and [that] the
 22   Depositor, pursuant to this Agreement, will deposit the Mortgage Loans to the
 23   Trust.”
 24           48. The misstatement in the pooling agreement of the date that the depositor
 25   acquired the mortgage portfolio means that the purported transfers/assignments to
 26   the trust were void ab initio and void.
 27
 28


                                                  7
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  1           49. A schedule of pooled mortgages was required to have been attached to
  2   the pooled loan agreement, and it must have clearly and specifically identified each
  3   mortgage as among those assigned.
  4           50. The First Boston ARM Loan Schedule is dated January 22, 1997, and it
  5   could not be the schedule of pooled mortgages required to have been attached to
  6   the December 1, 1996 pooling agreement.
  7           51. There never were and there are no documents in existence showing the
  8   transfer of the portfolio of mortgage loans from First Bank of Beverly Hills to
  9   Wilshire IV.
 10           52. There are no documents showing the sale of the mortgage portfolio from
 11   Wilshire IV to First Boston.
 12           53. There are no documents showing the sale of the portfolio by First Bank
 13   Boston, the depositor, to the trust.
 14           54. No defendant ever legally was a servicer of plaintiff's Note.
 15           55. No defendant ever legally was a servicer for the securitized trust.
 16           56. The trust did not have legal title to the Note or the Deed of Trust.
 17           57. No defendant had any legal right to or interest in plaintiff's Note or Deed
 18   of Trust.
 19           58. No defendant had any legal right to demand monthly payments on the
 20   Note.
 21           59. Defendants, and each of them, knew that none of them ever had any
 22   legal right to demand payments on the Note, their demands were factually and
 23   legally baseless and false, all defendants intended that plaintiff would rely on their
 24   demands, plaintiff relied on the demands, plaintiff made at least 85 payments on
 25   the Note, in reliance on the demands, and plaintiff was injured and damaged by
 26   having had to make, monthly payments to defendants, in a sum in excess of
 27   $175,000.00.
 28           60. All of defendants’ material representations were false and misleading.

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  1         61. All defendants intended their material representations to be false and
  2   misleading.
  3         62. All defendants intended that plaintiff rely on all of defendants’ material
  4   misrepresentations.
  5         63. Plaintiff reasonably relied on and was extorted to rely on all of
  6
      defendants’ representations.
  7
            64. In reliance on all of defendants’ material representations, plaintiff made
  8
      monthly payments to defendants.
  9
            65. Plaintiff was injured and damaged by defendants’ demands for payments
 10
      and by the payments he made to defendants, in a sum of at least $175,000.00.
 11
            66. Plaintiff was harmed both by his reasonable reliance on all defendants’
 12
      material misrepresentations and by plaintiff paying money to defendants.
 13
            67. Having devised or intending to devise a scheme or artifice to defraud or
 14
      for obtaining money by means of false or fraudulent pretenses, representations,
 15
      and/or promises, all defendants transmitted or caused to be transmitted by means of
 16
      wire and/or United States Postal Service mail, in interstate commerce, writings and
 17
      words for the purpose of executing their scheme or artifice, as follows: for each of
 18
      the months 2013 through and including Feb. 2021, all defendants made monthly
 19
 20
      demands that plaintiff pay to all defendants plaintiff's money, to which defendants

 21   had no claim of right or right.

 22         68. The Nationstar defendants have a mortgage portfolio of well over five
 23   hundred billion dollars, annual revenues of over two billion dollars, three million
 24   customers, and over nine thousand employees.
 25         69. All defendants' wrongful conduct, as set forth both hereinabove and
 26   hereinbelow, constituted extortion, in that it was intended to and did obtain
 27   plaintiff's property, his money, with his consent, but induced by all of defendants'
 28   wrongful threats that, unless the money was paid by plaintiff to defendants, there


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   1   would be foreclosure on plaintiff's property that secured the Note and was subject
   2   to the Deed of Trust, and this instilled fear in plaintiff and also made plaintiff
   3   regularly feel anxious, made plaintiff regularly worry, caused plaintiff to lose
   4   sleep, caused plaintiff to be frustrated, and caused plaintiff to experience some
   5   physical injuries.
   6
             70. Especially, plaintiff's years'-long attempts to obtain from defendants, and
   7
       their predecessors accurate information and documentation concerning the
   8
       provenance of the Note and Deed of Trust, caused fear in plaintiff and also made
   9
       plaintiff regularly feel anxious, made plaintiff regularly worry, caused plaintiff to
  10
       lose sleep, caused plaintiff to be frustrated, and caused plaintiff to experience some
  11
       physical injuries.
  12
             71. Plaintiff’s state law claims are asserted as both diversity and
  13
       supplemental claims.
  14
             72. All acts and/or omissions perpetrated by each defendant were engaged in
  15
       maliciously, callously, oppressively, wantonly, recklessly, grossly negligently,
  16
       with deliberate indifference to the rights allegedly violated, despicably, and with
  17
       evil motive and/or intent, all in disregard of the plaintiff's rights. Plaintiff herby
  18
       incorporates by this reference the legal principles set of punitive damages set forth
  19
  20
       in Dang v. Cross, 422 F.3d 800 (9th Cir. 2005).

  21         73.-125. Reserved.

  22                                          COUNT 1
  23                                           (Fraud)
  24         126. By doing the things alleged hereinabove, defendants committed fraud,
  25   both fraud in the factum and fraud in the inducement, by concealing correct
  26   material information from plaintiff, as to their legal right to demand money from
  27   plaintiff, and by making material misrepresentations that were false, defendants
  28   intended plaintiff to rely on those non-disclosures and material misrepresentations,

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   1   plaintiff justifiably relied on them, plaintiff was harmed and damaged by his
   2   reasonable reliance, and defendants therefore are liable to plaintiff for damages for
   3   fraud.
   4            127. One of those material misrepresentations was that Countrywide and
   5   America's Wholesale Lender had the legal capacity to enter into the initial
   6
       loan/mortgage transaction with anyone in California, including plaintiff.
   7
                128. Another of those misrepresentations was that defendants lawfully
   8
       possessed the legal ability to demand payments on the Note, notwithstanding that
   9
       various links in the chain of title of the Note were legally inoperative; and
  10
       notwithstanding defendants' knowledge of these legally inoperative links
  11
       defendants nevertheless demanded and received payments on the Note.
  12
                129.-140. Reserved.
  13
                                              COUNT 2
  14
                                        (Racketeering - RICO)
  15
                141. By doing the things alleged hereinabove, defendants thereby committed
  16
       wire fraud and/or mail fraud on at least 85 separate occasions, by using
  17
       instrumentalities of interstate commerce to accomplish their crimes, and thereby all
  18
       defendants are liable under the Racketeer Influenced and Corrupt Practices Act,
  19
  20
       civil RICO.

  21            142. Each defendant, in its own right, and all defendants are together,

  22   collectively, as well as their employees, who work in and for each defendant
  23   company, both enterprises and associated-in-fact enterprises, within the meaning of
  24   18 U.S.C. 1961(4), and therefore are RICO enterprises.
  25            143. As regards the dealings alleged in the instant action, each different
  26   defendant and/or company is, and the companies that are defendants together are,
  27   an enterprise(s), within the meaning of 18 U.S.C. § 1961(4).
  28


                                                  11
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   1         144. Each company defendant’s activities are a significant part of and affect
   2   interstate commerce.
   3          145. Each defendant received income, directly and/or indirectly, by way of
   4   profits, salary, compensation, benefits, reimbursement for expenses, per diem costs
   5   reimbursements, meals, lodging, and/or travel, etc., from the pattern of
   6
       racketeering activity alleged herein, and used that income in the acquisition of an
   7
       interest in and/or operation of the enterprise, in violation of 18 U.S.C. 1962(a), and
   8
       acquired and/or maintained control over said racketeering enterprise(s) through a
   9
       pattern of racketeering activities, as set forth herein, in violation of 18 U.S.C.
  10
       1962(b).
  11
              146. Defendants conducted and/or participated in said enterprises’ affairs
  12
       through a pattern of racketeering activities, in violation of 18 U.S.C. 1962(c).
  13
              147. The pattern of racketeering activities included a continuous pattern and
  14
       practice potentially involving activities, including any potential civil RICO
  15
       predicates, set forth in the RICO predicate statutes, including mail fraud, wire
  16
       fraud, fraudulent concealment, fraud, extortion, both state law and federal, and
  17
       potentially obstruction of justice, and defendants’ defense of the instant action will
  18
       be a continuation and a part of their RICO schemes, so that anyone who
  19
  20
       participates it that defense will become part of the RICO enterprise(s). That pattern

  21   of racketeering activities is continuing to date and will continue unless this court

  22   ends it.
  23          148. The enterprises' activities occurred on more than one, and on many
  24   occasions, at least 85, over at least the past 10 years, have been done on numerous
  25   occasions, and constitute at least 85 separate, non-continuous acts.
  26          149. The wrongful acts described in the matters enumerated hereinabove
  27   occurred over a significant period of time, and are related in that they evidence
  28   civil RICO predicates, including at least fraud, wire fraud, mail fraud, extortion,


                                                 12
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   1   both state and federal, and potentially obstruction of justice, and those acts pose a
   2   threat of continued criminal activity, they have the same or similar purposes,
   3   results, participants and kinds and categories of participants, victims, methods of
   4   commission, and are otherwise interrelated by their common characteristics, are
   5   not isolated events, and each and all constitute a continuing pattern of racketeering
   6
       activity, and constitute a long term threat of continuing racketeering activity.
   7
             150. These wrongful acts over a period of years, and the bad acts alleged
   8
       hereinabove, enabled defendants to acquire and maintain, both directly and
   9
       indirectly, interests in and control of the racketeering enterprises in which they
  10
       engages.
  11
             151. The activities led to defendants’ control of and acquisition over the
  12
       enterprise(s) and resulted in the injuries to plaintiff, as alleged herein, which
  13
       resulted from defendants’ participation in and control of the enterprises.
  14
             152. By failing to prevent the wrongful conduct herein alleged, misconduct
  15
       that amounted to racketeering activities, all managerial and non-managerial
  16
       employees and/or officers of defendants, engaged in and condoned racketeering
  17
       activities, and perhaps their attorneys in the instant action, and when the names of
  18
       the managerial and non-managerial persons, presently Unknown Named
  19
  20
       Defendants are obtained, the names of those persons will be added as defendants.

  21         153. The willful and/or negligent and/or grossly negligent mismanagement

  22   of the enterprises, with knowledge by defendants charged with management and
  23   potentially other defendants that they were and continue to be operated as a RICO
  24   enterprises, directly caused the harm to plaintiff, as alleged herein.
  25         154. The acquisition of control of the enterprises by its participants who
  26   engaged in RICO predicate acts harmed plaintiff.
  27         155. The enterprises are RICO enterprises because they have hierarchical
  28   structures and consensual structures for making decisions, and those structures


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   1   have an existence beyond that which is necessary to commit the RICO predicate
   2   acts alleged herein, in that the hierarchical and consensual structures exist to
   3   accomplish doing business, and the structures for decision-making exist separate
   4   and apart from the racketeering activities.
   5         156. Plaintiff was harmed in that his property, to wit, his money and money
   6
       in which he had an interest, was subjected to, affected by, and its value affected
   7
       negatively by defendants’ wrongful conduct, including fraud, wire fraud, mail
   8
       fraud, deception, extortion, both state and federal, and obstruction of justice.
   9
             157. Both directly and indirectly, defendants, in the acts and instances
  10
       alleged herein, and others, have conducted the RICO enterprises’ affairs and have,
  11
       as a matter of fact, participated in the operation and de facto management of the
  12
       RICO enterprises.
  13
             158. By the conduct alleged herein, each defendant participated in the
  14
       operation and management of the RICO enterprises himself and/or itself, or herself
  15
       and played some part in directing their affairs.
  16
             159. All persons who are similarly-situated to plaintiff, by virtue of their
  17
       mortgages being listed on the ARM, whose mortgages allegedly were transferred
  18
       by the same alleged means as plaintiff, and for whom class certification will be
  19
  20
       sought, have RICO claims against defendants. There are many hundreds of such

  21   similarly-situated persons.

  22         160. Plaintiff has suffered a loss of and a material diminution in the value of
  23   his property, to wit, his money or money in which he had an interest, and thus
  24   plaintiff was injured in his business or property by economic loss, and also
  25   defendants harmed plaintiff by interference with plaintiff's prospective business
  26   relations, because plaintiff was unable to use his money that defendants extorted
  27   plaintiff to pay to defendants.
  28


                                                 14
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   1         161. Defendants unlawfully engaged in the racketeering activities on other
   2   occasions during the past 10 years, through a pattern of racketeering activity, and
   3   acquired, directly and indirectly, control of the enterprises, and also engaged in the
   4   same conduct as to other victims.
   5         162. Defendants and others, who either are or have been employed by or
   6
       who are associated with the racketeering enterprises, have conducted those
   7
       enterprises through a pattern of racketeering activity.
   8
             163. Through a pattern of racketeering activities, as set forth hereinabove,
   9
       defendants acquired and/or maintained, directly and/or indirectly, interests in
  10
       and/or control of the RICO enterprises and their activities by, among other things,
  11
       their own aggrandizement that flows therefrom.
  12
             164. By virtue of the allegations set forth hereinabove, some defendants
  13
       were or are employed by, all defendants were or are associated with, and all
  14
       defendants participated in, directly and/or indirectly, the RICO enterprises.
  15
             165. Defendants unlawfully conspired among themselves and with others,
  16
       to violate the provisions of 18 U.S.C. 1962(b), (c), and (d), and, on information and
  17
       belief, continue to do so, with the aid and assistance of co-conspirators
  18
             166. Because plaintiff was injured in his property and by reason thereof,
  19
  20
       plaintiff is entitled to RICO damages, to be trebled.

  21         167. The wrongful policies and practices of defendants relating to the

  22   collection of mortgage payments constitute deliberate failures to make honest and
  23   truthful disclosures and of making material misrepresentations, and have been
  24   formulated and implemented by defendants, singly, jointly, and severally.
  25         168. Defendants’ actions involved and involve thousands of consumers of
  26   mortgage products and constitute a pattern of racketeering activity, and the
  27   predicate acts of wire fraud and mail fraud, in violation of 18 U.S.C. § 1343, both
  28


                                                 15
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   1   as to plaintiff and as to others with respect to whom class certification will be
   2   sought.
   3                                          COUNT 3
   4                                          (Extortion)
   5         169. By threatening the foreclosure on the Note and of the subject property,
   6
       unless plaintiff made the monthly payments that defendants demanded from
   7
       plaintiff, each and every defendant thereby extorted the monthly payments from
   8
       plaintiff, under both state and federal law, by forcing plaintiff to provide the
   9
       monthly payments to defendants under threat, and these threats were made by
  10
       defendants using USPS mail and by telephone.
  11
                                     CLASS ALLEGATIONS
  12
             170. Plaintiff is a member of the discrete class of persons whose defining
  13
       characteristic is that its members were persons from whom defendants demanded
  14
       monthly mortgage payments, but which payments defendants do not have a legal
  15
       right demand or to receive, because defendants are not the beneficiary of any note
  16
       and do not collect on behalf of a legal beneficiary.
  17
             171. This class contains over 360 members, and the class is so numerous so
  18
       that joinder of all members is impracticable.
  19
  20
             172. Because only defendants know the names of all of the members of

  21   class, and defendants are the only persons who have information sufficient to

  22   identify all the members of class, it therefore is impracticable to join all the
  23   members of the class in this action.
  24          173. There are only common questions of fact and law with respect to all
  25   class members.
  26         174. The claims made by the representative party, plaintiff, are typical of the
  27   claims of each class member, and in fact and law are the same claims.
  28


                                                  16
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   1         175. The representative of the class, plaintiff, through his legal counsel,
   2   fairly, vigorously, and zealously will represent and adequately protect the interests
   3   of all class members.
   4         176. Prosecution of separate actions by individual class members would
   5   create a risk of inconsistent and/or varying adjudications with respect to class
   6
       members, which would establish incompatible standards for parties opposing the
   7
       class, and defendants have acted and will continue to act on grounds generally
   8
       applicable to every class member, and the class questions not only predominate but
   9
       are the only questions that exist.
  10
             177. Therefore, this action is maintainable under F.R. Civ. P. Rule 23(a), &
  11
       (b)(1)(A),(B)(1),(2), and (3).
  12
             178. It is not presently possible accurately to measure the size of the class.
  13
             179. The nature of the notice to be provided to class members should be as
  14
       follows: defendants should be required to identify all members as defined and to
  15
       provide a suitable notice to all class members.
  16
             180. The definitions of Sub-Classes are as follows:
  17
             Sub-Class 1: all persons who are listed as Borrowers on CS First Boston
  18
       ARM Loan Schedule for Wilshire 96-3 and from whom defendants demanded
  19
  20
       monthly payments as a servicer: Group 2, to the extent that, similarly to plaintiff,

  21   the loans were made by America's Wholesale Lender and never validly were

  22   transferred to the mortgage securitized trust known as Wilshire Funding
  23   Corporation Mortgage Backed Certificates, Series 1996-3, for whom Deutsche
  24   Bank purports to be trustee;
  25         Sub-Class 2: all persons who are listed as Borrowers on CS First Boston
  26   ARM Loan Schedule for Wilshire 96-3 and from whom defendants demanded
  27   monthly payments as a servicer: Group 1, to the extent that, similarly to plaintiff,
  28   the loans were made by America's Wholesale Lender and never validly were


                                                17
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   1   transferred to the mortgage securitized trust known as Wilshire Funding
   2   Corporation Mortgage Backed Certificates, Series 1996-3, for whom Deutsche
   3   Bank purports to be trustee; and,
   4         Sub-Class 3: all persons who are listed as Borrowers on CS First Boston
   5   ARM Loan Schedule for Wilshire 96-3 and from whom the Nationstar defendants
   6
       demanded monthly payments as a servicer: all Groups other than Groups 2 and 3,
   7
       to the extent that, similarly to plaintiff, the loans were made by America's
   8
       Wholesale Lender and never validly were transferred to the mortgage securitized
   9
       trust known as Wilshire Funding Corporation Mortgage Backed Certificates, Series
  10
       1996-3, for whom Deutsche Bank purports to be trustee.
  11
             181.-199. Reserved.
  12
                       DECLARATORY AND INJUNCTIVE RELIEF
  13
             200. Plaintiff seeks a declaratory judgment that defendants had no legal right
  14
       to have demanded payment of or to collect monthly payments from plaintiff and/or
  15
       from any class members.
  16
             201. Plaintiff seeks a declaratory judgment that defendants engaged in
  17
       fraudulent debt collection practices, as set forth hereinabove, and an injunction
  18
       barring such practices in future.
  19
  20
             202. Plaintiff seeks both preliminary and permanent injunctive relief that

  21   defendants be prohibited from demanding monthly payments and be prohibited

  22   from accepting monthly payments from any class members.
  23         203. Plaintiff's and class members' benefits from the declaratory and
  24   injunctive relief would be more than $75,000.00, and defendants' detriment would
  25   be over $1,000,000.00 per annum.
  26         WHEREFORE, plaintiff requests relief against each defendant as follows:
  27         1. General damages to be determined, in a sum exceeding $75,000.00,
  28   exclusive of interest and costs;


                                                18
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   1         2. Punitive damages, in a sum to be determined by a jury, and as a
   2   percentage of the net worth and yearly profits of all defendants, in a sum sufficient
   3   to deter future misconduct, and not less than $100,000,000.00 against defendants;
   4         3. The trebling of all damages for the RICO violations;
   5         4. Costs of suit and interest;
   6
             5. Attorneys’ fees;
   7
             6. Declaratory relief as set forth;
   8
             7. Injunctive relief as set forth;
   9
             8. Class certification;
  10
             9. The same relief as sought above for each class member; and,
  11
             10. Such other relief as is just and proper.
  12
                                         JURY DEMAND
  13
             Plaintiff demands trial by jury of all issues and class members demand trial
  14
       by jury of all issues.
  15
  16
                                       _______________________
  17                                  STEPHEN YAGMAN,
  18                              only in his individual capacity and as to
                                individual-capacity allegations, and not as
  19
                                        a class representative
  20
  21                               YAGMAN & REICHMANN
  22
                                   By:     /s/ Joseph Reichmann
  23                                     JOSEPH REICHMANN,
  24                             only as to plaintiff's class-representative
                                status, and not as to plaintiff's individual-
  25
                                     capacity allegations or claims
  26
  27
  28


                                                   19
